        Case 2:18-bk-57238                         Doc 39            Filed 11/04/19 Entered 11/05/19 14:27:22                     Desc Main
                                                                     Document     Page 1 of 4


       F J t. ED
                                                              UNITED STATES BANKRUPTCY COURT
1019   NOV -4 PH 3: 07                                               SOUTHERN DISTRICT OF OHIO




                                                                                              Case No.   / f)-�- '7 2_38
                                                                                              Judge:     1-fo(?I<J;J5
                                                                                              Chapter:      I ·3


                                                    MOTION FOR PAYMENT OF UNCLAIMED FUNDS


          Under penalty of perjury, the Movant declares that the following statements and information are true and correct.


          1. To the best of the Movant's knowledge, a check in the amount of$                "J D �5:'       �             was issued to


           ���·-=-�
                  ....,.,,.--"-""
                            .. q-�· ---=-t-��c-:JJ<CK
                                                    ......      """"f"
                                                            ... L
                                                        . �""'       _______       (name of original creditor/claimant).


          2. To the best of the Movant's knowledge, the funds were tendered by the case trustee to the Bankruptcy Clerk and
          then to the United States Treasury.


          3. The Movant's current address, phone number and social security number (last 4 digits only of social security
          number or complete EIN) are as follows:


           ;7;2£) lt--Nbdd teL uivx!Ju.. i/zid> 4:3ll17
           ( (c/4) �'7B- ?'I 32.

          4. The Movant did not receive the check or did not negotiate the check for the following reason(s):




          5. Movant represents that he/she is the owner of the funds, or is a legal representative of the owner, and is entitled
          to receive the funds. (If the movant is other than the owner of the funds, additional requirements pursuant to Local
          Bankruptcy Rule 3011-l(d) may apply to establish the right of payment of the unclaimed funds.)


          6. Movant understands that pursuant to 18 U.S. C. § 152, a fine or imprisonment or both may be imposed if he/she
          knowingly or fraudulently made any false statements in this document.
                                   I

          7. Wherefore, Movant requests an order directing the Clerk to pay the funds to the Movant at the above address.


                                                                                      £!���·�
                                                                                            � 6�
                                                                                    -tiovant's signatu�

                                                                                     72aAlf-6              L   £   tW&clJ(G
                                                                                    Movant's printed name
Case 2:18-bk-57238              Doc 39      Filed 11/04/19 Entered 11/05/19 14:27:22                         Desc Main
                                            Document     Page 2 of 4




                                       UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF OHIO



  In re                                                                    Case No.    18   -   5:'1 d--38

                                                                           Judge:     f-/.qtXiA!S
                                                                           Chapter:       /3

                                                 NOTICE OF MOTION



                                                    has filed a Motion for Payment of Unclaimed Funds with the court.


  Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you
  have one in this bankruptcy case. If you do not have an attorney, you may wish to consult one. If you do not want
  the court to grant the relief sought in the motion/objection, then on or before twenty-one (21) days from the date
  set forth in the certificate of service for the motion/objection, you must file with the court a response explaining
  your position by mailing your response by regular U.S. Mail to: (select office where case is/was pending)




  OR your attorney must file a response using the court's ECF System.


  The court must   receive your response on or before the above date. You must also send a copy of your response
  either by I) the court's ECF System or by  2) regular U.S. Mail to:

  Name:
  Address:




  and,    (List below the names and addresses of others to be served)




  If you or your attorney do not take these steps, the court may decide that you do not oppose the relief sought in the
  motion and may enter an order granting that relief without further hearing or notice.
Case 2:18-bk-57238             Doc 39        Filed 11/04/19 Entered 11/05/19 14:27:22                             Desc Main
                                             Document     Page 3 of 4




                                              CERTIFICATE OF SERVICE


 I hereby certify that a copy of the   �going Motion for Payment of Unclaimed Funds was served on the following
 by ordinary U.S. Mail on the    .t.(         day of   ;...k.t. ¥iM_4ff             ,   20�.

                                                 Debtor:   Sf"et££ia t-·Jai..ud
                                                           17Z8: f&Jf:.tef_f #
                                                            cduf71bu..S, { c:.Juv t.f322'1

                                                 Debtor's Attorney:   .�         {� {� �A] c{l--r c:t3
                                                                          l cr 6 )(b_ssv+h_ s+
                                                                                        -                           0




                                                                          c <VIo-r){ /4.-u. S 1 Cfv. a           <-{ ?2-0(p




                                                 United States Attorney
                                                 303 Marconi Boulevard, Suite     200
                                                 Columbus, Ohio 43215


          Indicate the office that was served:
                                                 United States Trustee                      (Cincinnati cases)
                                                 36 East Seventh Street, Suite   2030
                                        D        Cincinnati, Ohio   45202


                                                 United States Trustee                      (Columbus and Dayto·n cases)
                                                 170 North High Street, Suite 200
                                                 Columbus, Ohio 43215
              Case 2:18-bk-57238            Doc 39       Filed 11/04/19 Entered 11/05/19 14:27:22                   Desc Main
Case: 597368 Type: GEN Seq: 025 1 of 1
                                                         Document     Page 4 of 4



                                                                                                                   PC-E-4.5 (Rev. 10-2000}
                        537368        4.5
                                            Pages: 000!
                            1-'KUt:�AI       c    vvu.{T OF FRANKLIN COUNTY, OHIO
                                                  ROBERT G. MONTGOMERY, JUDGE

                                             Shareefa Wadud aka Theresa Ann Freeman                                     . DECEASED
        ESTATE OF

                                         5 9 73 6 8                               Alf checks to be made·
        CASE NO.                                                                       payable to the
                                                                            Fiduciary and Custodial Depository

                     ENTRY APPOINTING FIDUCIARY; LETTERS OF AUTHORITY
                                                      (For Executors   ��d all Administrators)
                                                                                                        LIMITED
        Name and title of fiduciary D
                                      ante        L. Marable, Admm1strator




        On hearing in open court the application of the above fiduciary for authority to a d m i niste r decedent's estate, the
        Court finds that:


        Decedent died    [check one of the following]           D testa te     i2J intestate on   ____     M_a_rc_h_1_9_;_, _20_9
                                                                                                                                1 ___  _




        domiciled in
                       Columbus, Franklin County, Ohio


        [Check one of the following] -0 Bond is dispensed with by the Will- 0 Bond is dispensed with by law

        i2J   Applicant has executed and filed an appropriate bond, which is approved by the Court: and


        Applicant is a suitable and competent person to execute the trust           .




        The Court therefore appoints applicant as such fiduciary, with the power conferred by l aw to administer fully
        decedent's estate. This entry of appointment constitutes the fiduciary's letters of authority.




                        APR     1   5 2019
                             Date
                                                                                        Robert G. Montgomery, Judge



                            CERTIFICATE OF APPOINTMENT AND INCUMBENCY

        The above document is a true copy of the original kept by me as custodian of the records of this Court. It constitutes
        the appointment and letters of authority of the named fiduciary, who is qualified and acting in such capacity.




                                                                                        ROBERT G. MONTGOMERY
                                                                                           Judge and Ex-Officio Clerk


                            APR 15 2019
                                            •                          By   _____=w.._
                                                                                   _ .,._
                                                                                       _ _A-+--+----                        Deputy Clerk



                                                                       Date
                                                                                MAY 13 2�
                                                                              -------




                                     FORM   4.5   -   ENTRY APPOINTING FIDUCIARY; LETTERS OF AUTHORITY
